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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE

  IN RE: Valsartan Products Liability    )              MDL Docket No: 2875
  Litigation,                            )              1:21-md-2875-RBK
                                         )
  This Document Relates to:              )              Hon. Robert B. Kugler
  Case No. 1:21-cv-12713-RBK-KMW         )
                                         )              Hon. Karen M. Williams
  The Estate of Stephen Gregory Johnston )
  _______________________________________


                 PLAINTIFF’S STATEMENT PURSUANT TO L. CIV. R. 7.1.1

         Plaintiff, Elizabeth Johnston, as Personal Representative of the Estate of Stephen Gregory

  Johnston, submits the following information pursuant to L. Civ. R. 7.1.1:

         1.      Plaintiff is not receiving any funding of attorneys’ fees and expenses in exchange

  for either (1) contingent financial interest based upon the results of the litigation or (2) a non-

  monetary result that is not in the nature of a personal or bank loan or insurance.

       2.        As set forth in Paragraph 1, Plaintiff is not receiving any third-party funding of

  attorneys’ fees and expenses, therefore no funder approval is necessary for litigation decisions or

  settlement discussions in this action.

  Dated July 22, 2021

                                                Respectfully submitted,

                                                /s/ Christopher Shakib___________
                                                Christopher Shakib, Esquire
                                                TERRELL HOGAN & YEGELWEL, P.A.
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                                                Florida Bar No.: 0947865
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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed
  on July 22, 2021. Notice of this filing will be sent to all parties of record by operation of the
  Court’s electronic filing system. Parties may access the filing through the Court’s EFC system.

                                              /s/ Christopher Shakib___________
